                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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                                    )
UNITED STATES OF AMERICA,           )
                                    )                Criminal No.: 14-cr-10363-RGS-7
      v.                            )
                                    )
(7) SHARON P. CARTER,               )
                                    )
            Defendant.              )
____________________________________)


      REPLY MEMORANDUM IN SUPPORT OF SHARON CARTER’S MOTION
      FOR JUDGMENT OF ACQUITTAL OR, ALTERNATIVELY, A NEW TRIAL

       With leave of the Court, Sharon Carter submits this memorandum to respond to the

Government’s Opposition to her motion for judgment of acquittal or, alternatively a new trial.

I.     THE GOVERNMENT CITES TO NO EVIDENCE SUFFICIENT TO FIND THAT
       MS. CARTER KNOWINGLY AND WILLFULLY JOINED COUNT 3’s
       CHARGED CONSPIRACY

       The Government points to no evidence sufficient to conclude, beyond a reasonable doubt,

that Ms. Carter knew of the existence of any agreement to deceive, obstruct and impede the

FDA’s exercise of regulatory oversight over NECC, or that she willfully joined in that agreement

with the specific intent of facilitating its unlawful purpose. The arguments it advances on this

point are unavailing, for the following reasons:

       1.      Despite the Government’s expansive view of Ms. Carter’s duties at NECC (Opp.

at 3-5), none of those duties involved regulatory matters. The Government responds that it need

not prove Ms. Carter’s direct involvement in such matters, because she is liable for actions taken

by her co-conspirators in furtherance of the conspiracy whether she personally participated in

them or not. (Opp. at 12-14). This assertion misses the point. Indeed, it presumes the very fact

the Government was required – but failed – to establish. To hold Ms. Carter liable for actions
taken by others in furtherance, the Government first must prove Ms. Carter’s joinder and

membership in the underlying conspiracy. A person cannot join something that she does not

know exists. The Government’s Opposition cites to no evidence introduced at trial – because

there was none – that Ms. Carter knew anything about NECC’s communications with state or

federal regulators, including whether such communications were truthful or untruthful, intended

to deceive or obstruct, or otherwise. Absent evidence of such knowledge, there was no basis on

which to find that Ms. Carter knowingly and willfully joined in a conspiracy to make

misrepresentations to the FDA for the purpose of evading federal regulatory oversight of NECC.

       2.      The Government cannot patch this hole in its evidence by contending that

NECC’s “need[]” for prescriptions was “widely known to NECC employees.” (Opp. at 7).

None of the testimony the Government cites for this proposition mentioned Ms. Carter. (Opp. at

7-8). Further, the quoted testimony expressed the belief of various employee witnesses that

NECC needed patient names “because we were a pharmacy,” not because NECC was pretending

to be a pharmacy. Id.

       3.      The Government’s citations to Exhibits 496 and 1007 are similarly unavailing.

(Opp. at 5-6, 8). Of the many hundreds of exhibits introduced at trial, these appear to be the only

two that the Government claims are somehow linked to Ms. Carter and that mention regulators or

regulatory matters. Exhibit 496 is a Cadden e-mail addressed to Ms. Carter – and forwarded to

order confirming staff – explaining that the number of units of medication per patient specified

by customers on their order forms “must make sense” because “I [Cadden] must be able to

logically explain to a regulator why we processed x# of units per patient.” The e-mail contains

guidance for use by NECC administrative staff when reviewing the information provided by

customers on order forms. It says nothing about deceiving or defrauding the FDA.



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               Exhibit 1007 is a “Tech Manual” that Agent Mangiacotti testified was found at

Ms. Carter’s work station. Although the Government refers to the exhibit as “Carter’s manual”

(Opp. at 5), the Government introduced no evidence at trial concerning the origins of the manual

(i.e., who created it, when, or why); how it came to be located at Ms. Carter’s desk; or whether

anyone ever saw Ms. Carter use it. Much of the manual is old, dating back as far as 1995 (Ex.

1007 at 82). And the “Compounding Legally” section quoted most heavily by the Government,

which appears to have been authored in 1997-98, contains largely unexceptional information,

including some statements that are actually contrary to the Government’s prosecution theories,

such as that anticipatory compounding is permitted; that office stock has historically played a

valuable role in providing patient care; and that requirements “vary from state to state.” (Ex.

1007 at 8, 76). 1 Whoever prepared the manual, and for whatever purpose, it furnishes no basis

for finding willful joinder by Ms. Carter in a Cadden-initiated conspiracy – years later – to

defraud the FDA.

       4.      Finally, the Government cannot rely on Ms. Carter’s participation in NECC’s

patient name policies to support the jury’s verdict on Count 3. Despite devoting a substantial

number of pages to summarizing the evidence introduced at trial concerning these policies (Opp.

at 8-12), the Government makes no effort to address the central proposition of United States. v.

Pappathanasi, 383 F.Supp.2d 289 (D. Mass. 2005), or any of the other decisions cited by Ms.

Carter in which courts have granted judgments of acquittal, or reversed convictions, on Klein

conspiracy charges. (Mem. at 6-7, 12). As those decisions make clear, it is not enough for the



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 The Government also cites to language from a 2005 self-inspection report signed by Cadden,
not Carter, that references NECC procedures for controlled substance medications. (Opp. at 6,
quoting language from Ex. 1007 at 25). NECC’s controlled substance procedures were not at
issue at trial. The Government does not explain how this passage has any relevance to Ms.
Carter’s culpability on Count 3. It does not.

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government to rely on evidence that Ms. Carter (and others) participated in order processing

practices that would have furthered the purpose of a conspiracy to obstruct the FDA if such a

conspiracy existed and if Ms. Carter had joined in it. Id. (discussing cases). Rather, the

government was required to prove beyond a reasonable doubt that such a conspiracy actually

existed; that Ms. Carter knew of it; and that she knowingly and willfully joined in it with the

specific intent of assisting it to accomplish its unlawful purpose. The government failed to meet

this burden. It introduced no evidence that Ms. Carter was aware of a plan to deceive and

obstruct the FDA much less that she knowingly and willfully joined in that plan with the purpose

of helping it to succeed. 2

        5.       To this last point, the Government responds “[t]here was no other reason” for

NECC’s patient name policies but to deceive the FDA. (Opp. at 12). This assertion is little more

than a classic ipse dixit. It is wholly inadequate to prove Ms. Carter’s guilt beyond a reasonable

doubt. The statement also is contrary to the evidence at trial, which established that NECC’s

patient name policies were readily explainable in terms other than a willful motivation to

obstruct the FDA. Specifically, the policies were just as fairly (and, indeed, more fairly) seen as

establishing administrative guidelines for how to process customer orders that did not always list

patient names, for reasons that included customer HIPPA concerns as well as the impossibility in

certain circumstances of knowing specific patient identities in advance. (Mem. at 7-9). In the

face of this evidence, the government bore the burden of introducing evidence sufficient to prove




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 The Government’s quotation of Samuel Penta’s testimony, expressing Mr. Penta’s view of
Massachusetts law (Opp. at 8-9), has no relevance to Ms. Carter. There was no evidence that
Ms. Carter knew of Mr. Penta’s view, or that NECC’s prescription practices allegedly violated
Massachusetts law.

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that Ms. Carter’s purpose for participating in NECC’s patient name policies was to defraud and

obstruct the FDA. Id. (citing cases). It failed to do so. 3

II.    THE GOVERNMENT MISCONSTRUES MS. CARTER’S “LEGAL
       IMPOSSIBILITY” ARGUMENT

       The Government’s Opposition misconstrues – and thus fails to address – Ms. Carter’s

“legal impossibility” argument.

       Contrary to the Government’s assertions, Ms. Carter does not contend that lawful activity

cannot serve as evidence of a criminal conspiracy (Opp. at 15-16), or that conviction for a

conspiracy to defraud requires successful completion of the planned fraud. (Opp. at 17). Rather,

Ms. Carter has invoked the doctrine of “pure legal impossibility,” which holds that a defendant

cannot be convicted for conspiring to engage in conduct that was not a crime. (Mem. at 13-15).

       Applied here, that doctrine precludes convicting Ms. Carter (or any other defendant) of

conspiring to impede the FDA from exercising a function that the FDA neither possessed nor

sought to exercise during the relevant time period. Id. Put somewhat differently, a Klein charge

requires proof that defendants conspired to fraudulently obstruct, impair, or impede the lawful

functions of a federal agency. If, as a matter of law, the agency in question did not have the

authority to engage in the function that defendants allegedly conspired to impede, then

defendants were conspiring to engage in conduct that was not a crime – i.e., to impair a

“function” that the agency in question did not perform. Under the doctrine of legal impossibility,

a conviction for such a “conspiracy” cannot stand.




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 The Government’s “no other reason” statement is further undercut by the jury’s acquittal of co-
defendant Alla Stepanets on Count 3. Had there truly been “no other reason” for NECC’s patient
name policies besides defrauding the FDA, the jury presumably would have convicted Ms.
Stepanets – who also confirmed orders pursuant to those policies – on the Indictment’s Klein
conspiracy charge. It did not.

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       For all of the reasons set forth in Ms. Carter’s initial brief, the FDA – by its own

admission and as evidenced by its own conduct (i.e., its inaction) – neither possessed nor sought

to exercise regulatory authority over the activities of outsourcing compounders during the time

period in question (Mem. at 13-15). As a result, any alleged conspiracy to deceive the FDA

from realizing that NECC was one of this new breed of outsourcing compounder cannot, as a

matter of law, constitute a violation of the “defraud” clause of 18 U.S.C. § 37, because it

pertained to a “function” that the FDA did not perform.



III.   THE GOVERNMENT FAILS FULLY TO ADDRESS MS. CARTER’S DUE
       PROCESS ARGUMENTS

       The Government responds to Ms. Carter’s due process arguments by citing precedent that

Ms. Carter fully acknowledged. (Opp. at 18-19). The Government fails to address, however, the

case-specific factors that give Ms. Carter’s due process challenge particular force here.

Specifically, the Government’s Opposition does not respond to Ms. Carter’s point that the

statutory and constitutional infirmities discussed by the Supreme Court in Skilling v. United

States, 561 U.S. 358, 402-13 (2010), are greatly magnified where, as here, the governmental

“functions” allegedly impeded were “rife with uncertainty and ambiguity.” (Mem. at 17). The

First Circuit’s existing precedent does not preclude this Court from concluding, consistent with

Skilling, that Due Process prohibits Ms. Carter’s conviction on Count 3 under these case-specific

circumstances.




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IV.     THE GOVERNMENT’S DISMISSIVE RESPONSE TO MS. CARTER’S MOTION
        FOR A NEW TRIAL IS MISPLACED AND UNPERSUASIVE

        The Government responds dismissively to Ms. Carter’s motion for a new trial,

characterizing her request, alternatively, as “cursory” and “absurd.” (Opp. at 19, 21).

        Rhetoric, however, is no substitute for evidence or for well-grounded argument, and the

Government’s Opposition offers neither.

        First, for all of the reasons Ms. Carter stated in her initial brief, the evidence the

Government introduced against her on Count 3 was far from “abundant.” (Opp. at 20). That the

Government uses that word – repeatedly – does not make it so.

        Second, it is no response to the prejudicial impact of the death- and patient-harm

evidence to assert – as the Government does – that it could have introduced more. (Opp. at 20-

21). The fact that the Government was precluded from introducing more does not alter the

magnitude of the prejudicial impact caused by the evidence it did introduce.

        Third, Ms. Carter’s argument concerning the prejudicial impact of the Government’s

RICO evidence is far from “absurd.” The jury heard weeks of testimony and received hundreds

of exhibits about clean room operations that, put most charitably, were concerning. It was a

clean room in which Ms. Carter never stepped foot. The evidence did not support convicting

Ms. Carter on Count 2. The jury so found. There was no way, however, to counteract the

substantial prejudice that introduction of the RICO evidence caused to the jury’s ability to assess,

impartially, Ms. Carter’s guilt or innocence on Count 3. For all of the reasons set forth in Ms.

Carter’s opening brief, if the Court denies Ms. Carter’s motion for judgment of acquittal, she

requests, in the alternative, a new trial.




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                           Respectfully submitted,

                           SHARON P. CARTER

                           By her attorney,


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                                 CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on February 25, 2019.

                                               /s/ Michael J. Pineault
                                              Michael J. Pineault




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